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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 NINGBO MIZHIHE I&E CO., LTD,                                    :
                                                                 :
                                                                 :   ORDER REGULATING
                                                                 :   PROCEEDINGS AND
                                          Plaintiff,
                                                                 :   GRANTING MOTION FOR
              -against-                                          :   REMOTE DEPOSITION
                                                                 :
                                                                 :   19 Civ. 6655 (AKH)
                                                                 :
 DOES 1-200, et al.,                                             :
                                          Defendants.            :
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ALVIN K. HELLERSTEIN, U.S.D.J.:

                 On October 16, 2020, I held a telephonic status conference in the above-captioned

matter. As discussed at the conference, this matter shall proceed as follows:


                 1. Defendants’ motion to conduct remote depositions is granted. See ECF No.
                    121.

                 2. Plaintiff shall conduct a remote deposition of Deng Kai on October 28, 2020,
                    at 10:00 a.m., Hong Kong Time, at a location to be confirmed in Hong Kong.

                 3. Defendants shall arrange for a videographer suitable to Plaintiff, and
                    Defendants shall bear the expense of the same. Defendants shall ensure that
                    an individual with capacity to swear-in Deng Kai is present at the deposition.
                    Plaintiff shall make arrangements to conduct the deposition over Zoom or
                    similar service.

                 4. Upon mutual consent, the parties may modify these deposition instructions.

                 5. On or before October 30, 2020, Defendants shall submit, via ECF, an affidavit
                    from Deng Kai affirming that Defendants have completely and fully
                    responded to all of Plaintiff’s discovery requests made pursuant to Rules 33
                    and 34 of the Federal Rules of Civil Procedure. This affidavit shall also
                    include an explanation of the searches Defendants performed in response to
                    Plaintiff’s discovery requests and shall describe the production made to-date.
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             6. The parties shall appear for a status conference on December 4, 2020, at 10:00
                a.m., during which the Court will set a schedule for remaining discovery,
                motion practice, and other case management matters.

             7. The Clerk is directed to close ECF No. 121.



             SO ORDERED.

Dated:       October 16, 2020              _____/s/ Alvin K. Hellerstein________________
             New York, New York                  ALVIN K. HELLERSTEIN
                                                 United States District Judge
